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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA

Case Number: 2:21-CIV-14172-MARTINEZ-MAYNARD

BRYAN G. WOOD and KAYLEE M.
WOOD,

Plaintiffs,
vs.
PROGRESSIVE SELECT INS. CO.,

Defendant.
/

FINAL JUDGMENT
THIS CAUSE was tried before a jury from November 13, 2023, to November 16, 2023.

On November 16, 2023, the jury returned a verdict in favor of Plaintiffs, Bryan G. Wood and
Kaylee M. Wood, against Defendant, Progressive Select Insurance Company, finding that
Plaintiffs proved by a preponderance of the evidence that Defendant acted in bad faith in failing
to settle a third party claim against Plaintiffs. Accordingly, it is hereby ORDERED AND
ADJUDGED as follows:

1. Final Judgment is ENTERED in favor of Plaintiffs, Bryan G. Wood and Kaylee M. Wood,
and against Defendant, Progressive Select Insurance Company.

2. Plaintiffs shall recover from Defendant the amount of $217,608.50 in principal and the
amount of $49,776.88 in prejudgment interest (calculated at the statutory rate pursuant to
§ 55.03, Fla. Stat., from December 4, 2019, through November 17, 2023) for a total sum
due of $267,385.38, for all of which let execution issue. Post-Judgment interest shall accrue
pursuant to 28 U.S.C. § 1961.

3. The Court reserves jurisdiction to tax costs against Defendant under the procedures set
forth in Local Rule 7.3 of this Court and pursuant to a bill of costs filed pursuant to 28
U.S.C. § 1920.

DONE AND ORDERED in Chambers at Miami, Florida, this _3 day of January, 2024.

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Magistrate Judge Maynard JOS ARTINEZ,
All Counsel of Record UNITED STATES Ber JUDGE

